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                       IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, NORTHERN DIVISION


 SECURITIES AND EXCHANGE
 COMMISSION,

              Plaintiff,                          Case No.:

 v.

 DIGITAL LICENSING INC. (d/b/a “DEBT
 Box”), a Wyoming corporation; JASON R.           RULE 65(b)(1)(B) ATTORNEY
 ANDERSON, an individual; JACOB S.                CERTIFICATION
 ANDERSON, an individual; SCHAD E.
 BRANNON, an individual; ROYDON B.
 NELSON, an individual; JAMES E.                  Judge:
 FRANKLIN, an individual; WESTERN OIL
 EXPLORATION COMPANY, INC., a
 Nevada corporation; RYAN BOWEN, an
 individual; IX GLOBAL, LLC, a Utah limited
 liability company; JOSEPH A. MARTINEZ,
 an individual; BENJAMIN F. DANIELS, an
 individual; MARK W. SCHULER, an
 individual; B & B INVESTMENT GROUP,
 LLC (d/b/a “CORE 1 CRYPTO”), a Utah
 limited liability company; TRAVIS A.
 FLAHERTY, an individual; ALTON O.
 PARKER, an individual; BW HOLDINGS,
 LLC (d/b/a the “FAIR PROJECT”), a Utah
 limited liability company; BRENDAN J.
 STANGIS, an individual; and MATTHEW D.
 FRITZSCHE, an individual;

              Defendants,
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 ARCHER DRILLING, LLC, a Wyoming
 limited liability company; BUSINESS
 FUNDING SOLUTIONS, LLC, a Utah
 limited liability company; BLOX LENDING,
 LLC, a Utah limited liability company;
 CALMFRITZ HOLDINGS, LLC, a Utah
 limited liability company; CALMES & CO,
 INC., a Utah corporation; FLAHERTY
 ENTERPRISES, LLC, an Arizona limited
 liability company; IX VENTURES FZCO, a
 United Arab Emirates company; PURDY
 OIL, LLC, a Nebraska limited liability
 company; THE GOLD COLLECTIVE LLC,
 a Utah limited liability company; and UIU
 HOLDINGS, LLC, a Delaware limited
 liability company,

               Relief Defendants.


       I, Michael E. Welsh, do hereby declare under penalty of perjury, in accordance with 28

U.S.C. § 1746, that the following is true and correct, and further that this declaration is made on

my personal knowledge and that I am competent to testify as to the matters stated herein.

       1.      I am a resident of Utah and licensed to practice law in the State of Massachusetts.

       2.      I have worked in the Enforcement Division of the United States Securities and

Exchange Commission (the “Commission”) since December 2022. I currently serve as Trial

Counsel in the Salt Lake Regional Office, located at 351 S. West Temple Street, Salt Lake City,

Utah, 84101, where I am responsible for filing and litigating securities fraud actions on behalf of

the Commission in federal district court.

       3.      I am informed and believe that on at least seven occasions in the last ten years, the

Commission’s Salt Lake Regional Office has sought and obtained emergency and/or ex parte

relief for the protection of defrauded investors in cases filed in the United States District Court




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for the District of Utah. 1 In certain of those cases, including in ones in which the temporary

restraining order and asset freeze were granted ex parte, one or more defendants violated the

temporary restraining order, preliminary injunction, and/or asset freeze.

       4.      Evidence obtained by the Commission, and set forth in the Commission’s

contemporaneously-filed Ex Parte Application for Entry of Temporary Restraining Order and

Orders (1) Freezing Assets; (2) Requiring Accountings; (3) Prohibiting the Destruction of

Documents; (4) Granting Expedited Discovery; (5) Repatriating Assets; and (6) Order to Show

Cause re Preliminary Injunction (the “TRO Motion”) indicates that Defendants are currently in

the process of attempting to relocate assets and investor funds overseas, where at least Defendant

Jacob Anderson has contended that those assets will be outside the reach of U.S. regulators.

       6.      For example, bank records obtained by the Commission, and summarized in the

declaration of the Commission’s accountant, Karaz S. Zaki, appended to the TRO Motion as

Exhibit 3, show that on June 26, 2023, Defendant iX Global, LLC—the multi-level-marketing

entity through which the Defendants’ “node licenses” are primarily promoted—began closing its

bank accounts in the United States, and removed over $720,000 in putative investor funds from

those accounts.

       7.      In addition, Defendant Digital Licensing Inc., the issuer of the “node license”

securities, is in the process of moving its operations to the United Arab Emirates for the express



1
  See, e.g., SEC v. Daniel F. Putnam, et al., No. 2:20-cv-00301-DBB (May 7, 2020) (asset freeze
and ancillary relief); SEC v. Blackbird Capital Partners, LLC, et al., No. 2:16-cv-01199-TC (Nov.
28, 2016) (temporary restraining order and asset freeze); SEC v. Traffic Monsoon, LLC, et al., No.
2:16-cv-00832-JNP (July 26, 2016) (temporary restraining order, asset freeze, and appointment of
receiver); SEC v. Marquis Properties, LLC, et al., No. 2:16-cv-00040-JNP (January 19, 2016)
(temporary restraining order and asset freeze); SEC v. Ryan L. Cook, et al., No. 2:15-cv-0000416-
BSJ (June 12, 2015) (asset freeze); SEC v. Bliss et al., No. 2:15-cv-00098-RJS (February 11, 2015)
(temporary restraining order and asset freeze); SEC v. American Pension Services, et al., No. 2:14-
cv-309 (April 24, 2014) (temporary restraining order, asset freeze, and appointment of receiver).
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purpose of evading the federal securities laws. In a June 14, 2023, promotional video posted on

YouTube, Defendant Jacob Anderson states: “we have moved all of [Digital Licensing Inc.’s]

operations to Abu Dhabi,” so as to “be under the jurisdictional control of Abu Dhabi, not the

SEC.”

        8.       Based on the Commission’s prior experiences, and the information herein

provided, I believe that irreparable injury and loss is likely to occur if the Court requires notice

and a hearing.

        10.      In this case, the Commission has made no efforts to give notice to the Defendants

of the filing of this action or the TRO Motion.

        11.      Notice of the TRO Motion should not be required because notice would

potentially disrupt the status quo and give Defendants and Relief Defendants the opportunity to

move, hide, dissipate, or place outside the Court’s jurisdiction assets that should be preserved for

eventual distribution to defrauded investors. Proceeding on an ex parte basis is warranted to

increase the likelihood of freezing—and ultimately recovering—investor money or other assets

in Defendants’ and Relief Defendants’ possession, custody and control. In addition, it will help

secure, and prevent destruction of, documents or other evidence of Defendants’ scheme. If

Defendants and/or Relief Defendants are given advance notice that the Commission is seeking

emergency relief, they may dissipate any remaining assets and destroy documents and evidence.

Dated: July 26, 2023.




                                        /s/ Michael E. Welsh                          `

                                       Michael E. Welsh




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